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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                              BROWNSVILLE DIVISION

UNITED STATES OF                         §
AMERICA and STATE OF TEXAS ex rel.       §
DR. JOSÉ G. DONES,                       §
                                         §
             Plaintiffs,                 §
                                         §
v.                                       §
                                         §   Case Number: 1:21-cv-00181
HARLINGEN MEDICAL CENTER L.P.,           §
DR. ERIC G. SIX, VALLEY                  §
NEUROSURGEONS P.L.L.C,                   §
MICHAEL GONZALES, NUERA                  §
MEDICAL L.L.C., and PRIME                §
HEALTHCARE SERVICES, INC.                §
                                         §
             Defendants.                 §

     [PROPOSED] ORDER DENYING DEFENDANTS’ MOTIONS TO DISMISS

       Having considered Defendants’ Motions, Plaintiffs’ Omnibus Response, and
Defendants’ Replies, Defendants’ Motions are DENIED.
IT IS SO ORDERED.
DATED: August ___, 2023.



                                         HON. FERNANDO RODRIGUEZ, JR.
                                         UNITED STATES DISTRICT JUDGE
